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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION


United States of America,                                    Case No. 3:08CR304

               Plaintiff,



               v.                                            ORDER


Juan Mondragon-Machado,

               Defendant.



       Pending is a motion for reduction of sentence under 18 U.S.C. § 3582(c)(2). For reasons that

are well taken, the government opposes the motion, which I deny.

       Defendant pled guilty to Count 1 of an indictment charging him with possession with intent

to distribute marijuana in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(A), 846, and 851. The charges

arose from his involvement in bringing and distributing between 3,000 and 10,000 kilograms of

marijuana into Northwest Ohio.

       As a result of his conviction, the defendant received a statutory minimum term of 120

months. As the government’s response (Doc. 599) points out, the defendant is not eligible for the

retroactive reduction in his sentence under § 3582(c)(2) because his sentence was based not on his

Guideline computation, but rather on the statutorily mandated minimum term.
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       Neither the Sentencing Commission nor this Court has authority to reduce, via Guideline

amendments or otherwise, a sentence grounded in a Congressionally mandated minimum term.

Nothing in Amendment 782, on which defendant bases his motion, allows for a reduction of a

mandated minimum term. See U.S. v. Bell, 731 F.3d 552, 555 (6th Cir. 2013); U.S. v. Johnson, 564

F.3d 419, 423-24 (6th Cir. 2009).

       In light of the foregoing, it is hereby

       ORDERED THAT defendant’s motion to reduce sentence (Doc. 596) be, and the same

hereby is, denied.

       An appeal from this decision could not be taken in good faith and shall not be allowed

without prepayment of the requisite costs.

       So ordered.



                                                   /s/ James G. Carr
                                                   Sr. U.S. District Judge
